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                            EXHIBIT 35
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                                                               D 718.384.8040

K;:;J TARGEM                                                   m TargemTranslations.com
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                                                               D 185 Clymer St. Brooklyn, NY 11211



                                    CERTIFIED TRANSLATION


I, Wolf Markowitz, Manager at Targem Translations, Inc., located at 185 Clymer Street in
Brooklyn, New York, a language service with a firm track record of providing expert language
services to the business and legal community of more than 50 years, do hereby certify that our
team of translators, editors and proofreaders are professionally trained and vastly experienced in
providing    professional    translations, from Maltese to English and vice versa; and they have
professionally translated the document referenced as "Geden Holdings Malta Bankruptcy Balzan
Application and Order dtd 11.20.24"            from Maltese to English, faithfully, accurately and
completely, to the best of their expertise and experience.




Date: June 3, 2025




            Wolf Markowitz
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In the First Hall of the Civil Court

[Stamp: Registry Superior Court
No. 1488 – 09 OCT 2024 – PAID]
                                                 In the records of Application          number
                                                 810/2016MCH in the names:
 Price: €20.00
                                                 Samsung C&T Deutschland GmbH, overseas
 The Court                                       company registered in Germany with oƯicial
 Draws the attention of the                      number HRB 4631, with registered address at
 applicant who specifies the                     Am Kronberger Hang 6, 65824, Schwalbach
 correct law under which this                    am Taunus, Germany, represented here in
 application is filed, as well as S.L.           Malta by its special agent Advocate Louis
 [Subsidiary Legislation] 12.19                  Cassar Pullicino
 Rule 5A.
                                                 vs
 [Initials]
 10/28/24                                        Geden Holdings Limited

                                                             Decided June 15, 2017

Application of Adv. Dr Reuben Balzan in his capacity as liquidator of the company Geden Holdings
Limited

Respectfully expounds:

    1. That the exponent was appointed as liquidator of the company Geden Holdings Limited
       by this Honorable Court by decree pronounced on December 4, 2023.

    2. That the exponent is informed that allegedly the company Geden Holdings Limited could
       have disposed of some of its assets with prejudice to the creditors of said company.

    3. That the exponent is also informed that one of the creditors of the company Geden
       Holdings Limited, Eclipse Liquidity, was granted a judgment in its favor by the London
       High Court, against Geden Holdings Limited.

    4. That the exponent is informed that the company Geden Holdings Limited had submitted
       to the jurisdiction of the State of Pennsylvania since it conducted business in that
       jurisdiction.

    5. That subsequently, Eclipse Liquidity filed an application to the Pennsylvania Court of
       Common Pleas in order to enforce the judgment obtained from the London High Court,
       and in the enforcement proceedings of this judgment, it transpires that individuals
       appeared representing the company Geden Holdings Limited, whereby these individuals
       objected to this enforcement.
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   6. That according to the exponent it does not appear that these individuals were authorized
      to appear on behalf of the company Geden Holdings Limited since at the time, said
      company did not have a liquidator, nor does it appear that anyone filed an application for
      such an authorization from this Honorable Court.

   7. That the exponent was counselled by a legal firm in the United States regarding what
      could be done for this to be remedied, where the remedy consisted of legal proceedings
      before the United States Bankruptcy Court under the so-called ‘Chapter 15’, as is better
      explained in the attached legal advice and marked as Document ‘A’.

   8. That if this action is successful, the exponent may be able to use the United States legal
      mechanism, that is, federal discovery rules in order to investigate what assets the
      company Geden Holdings Limited could have held and whether these assets were
      transferred in favor of third parties with prejudice to the creditors of Geden Holdings
      Limited.


Therefore, the exponent is humbly requesting this Honorable Court that he is authorized to take
all the necessary legal steps to establish whether it is true that the assets of the company Geden
Holdings Limited were irregularly disposed of, and if this is the case, to take all the necessary
steps in order to recover these assets, under the powers granted to this Honorable Court by virtue
of Article 110(1)(a) of Legal Notice 223 of 2024, under all those conditions that said Court deems
necessary and opportune.

[signature]                                                    The Court,
Adv. Reuben Balzan LL.D.                                       Having regard to the application,
Valletta Legal                                                 Having regard to the relative
4, St Andrew Street                                            article of Legal Notice 223 of
Valletta VLT1314                                               2004 (2024) (Cap. 234 of the
                                                               Laws of Malta,
                               [signature]                     Accepts the request.
                               DAVINA SULLIVAN, L.P.           [signature]
                               Legal Procurator                11.20.24




                                       Today OCT 09, 2024
                                       Filed by L.P. D. Sullivan
                                       without docs/with one (1) document

                                       [signature]
                                       L.P. Carina Abdilla
                                       Deputy Registrar
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IN THE FIRST HALL OF THE CIVIL COURT

[Stamp: Registry Superior Court
No. 1351 – 08 NOV 2024 – PAID]
                                                       In the Records of Application number: 810/2016
                                                       MCH in the names:

                                                       Samsung C&T Deutschland GmbH, overseas
                                                       company registered in Germany with oƯicial
                                                       number HRB 4631, with registered address at Am
                                                       Kronberger Hang 6, 65824, Schwalbach am
                                                       Taunus, Germany, represented here in Malta by
                                                       its special agent Advocate Louis Cassar
                                                       Pullicino

                                                       -vs-

                                                       Geden Holdings Limited

                                                       Decided June 15, 2017

Note of Advocate Dr Reuben Balzan in his capacity as liquidator of the company Geden Holdings
Limited

That this Note is being filed by the exponent nomine following a Decree pronounced by this Honorable
Court dated October 28, 2024;

That the exponent nomine humbly submits that in the application request that he filed on October 9, 2024,
inadvertently, the year of Legal Notice 223 was incorrectly indicated, that is, inadvertently, the year 2024
was indicated instead of 2004;

That it ensues, therefore, that the exponent nomine filed his application of October 9, 2024, under Article
110(1)(a) of Legal Notice 223 of 2004 concerning the Merchant Shipping (Shipping Organizations - Private
Companies) Regulations, which were drawn up under the Merchant Shipping Act, Cap. 234 of the Laws of
Malta;

That since applications made under the Merchant Shipping Act and each regulation drawn up thereunder
are not mentioned in Regulation 5A of S.L. [Subsidiary Legislation] 12.19, such applications fall under the
competence of this Honorable Court as provided for in Regulation 6 of said L.S.



The exponent nomine has only this to submit for the prudent and superior judgment of this Honorable
Court.

[signature]                       [signature]                       Today NOV 08, 2024
Adv. Reuben Balzan                L.P. L. Galea                     Filed by L.P. L. Galea
Valletta Legal                    f/ L.P. Davina Sullivan           without docs/with / document
No. 4, St Andrew Street                                             [signature]
Valletta                                                            Ruth Piscopo
                                                                    Deputy Registrar
